                   IN THE SUPREME COURT OF PENNSYLVANIA
                              WESTERN DISTRICT


TOM FOSTER, ADMINISTRATOR OF     : No. 249 WAL 2016
THE ESTATE OF KENNETH W. FOSTER, :
DECEASED,                        : Petition for Allowance of Appeal from
                                 : the Unpublished Judgment Order and
                 Respondent      : Order of the Superior Court at No. 1147
                                 : WDA 2015 entered on May 26, 2016,
           v.                    : affirming the Order Entered of the Erie
                                 : County Court of Common Pleas at No.
GOLDEN GATE NATIONAL SENIOR      : 10202 of 2004 entered on July 7, 2015
CARE, LLC; ERIE OPERATING, LLC   :
D/B/A GOLDEN LIVINGCENTER -      :
WALNUT CREEK; ERIE ACQUISITION,  :
LLC; GGNSC EQUITY HOLDINGS, LLC; :
GGNSC HOLDINGS, LLC; GGNSC       :
CLINICAL SERVICES, LLC; GGNSC    :
ADMINISTRATIVE SERVICES, LLC;    :
SPECTRA HEALTHCARE ALLIANCE VI,  :
LLC; SPECTRA HEALTHCARE          :
ALLIANCE INC; BEVERLY            :
ENTERPRISES, INC.; AND DENISE    :
CURRY, AN INDIVIDUAL,            :
                                 :
                 Petitioners     :
                                 :
                                 :


                                       ORDER



PER CURIAM

      AND NOW, this 17th day of November, 2016, the Petition for Allowance of Appeal

is GRANTED. The Superior Court’s order is VACATED. This matter is REMANDED

for proceedings consistent with the decision in Taylor v. Extendicare Health Facilities,

Inc., ___ A.3d ___, 2016 WL 5630669 (Pa. September 28, 2016).
